                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE                             :   Civil Action No. 1:23-cv-00841-JRR
COMMISSION,                                         :
                                                    :   Judge Hon. Beth P. Gesner
Plaintiff,                                          :
                                                    :
v.                                                  :   Case in other Federal Court:
                                                    :
PRINCETON ALTERNATIVE FUNDING,                      :   District of New Jersey
LLC, MICROBILT CORPORATION, PHILIP                  :   3:21-cv-12971-ZNQ-RL
N. BURGESS, WALTER                                  :
WOJCIECHOWSKI, and JOHN COOK, JR.,                  :
                                                    :
Defendants.                                         :

                        DEFENDANTS’ STATUS REPORT
                 REGARDING DEFENDANTS’ MOTION TO COMPEL
              COMPLIANCE WITH THIRD PARTY DOCUMENT SUBPOENA

        Defendants Princeton Alternative Funding, LLC, MicroBilt Corporation, Philip N.

Burgess, Jr., Walter Wojciechowski, and John Cook, Jr. (“Defendants”), through their undersigned

counsel, hereby submit this Status Report regarding Defendants’ Motion to Compel Compliance

With Third Party Subpoena (the “Motion”) (ECF No. 1).

        Defendants acknowledge that this Court’s Minute Order requested this Status Report to be

jointly filed but, as recounted in Defendants’ Reply (ECF No. 9) just filed (the “Reply”),

Defendants’ counsel, despite multiple attempts have been unable to reach J. Brian Vanderwoude,

Esquire (“Attorney Vanderwoude”), counsel for Joseph Kenary with whom Defendants’ counsel

had been previously and solely engaging.

        With regard to the current status of this matter, the Reply explains that Defendants, as a

result of earlier conferencing with Attorney Vanderwoude, including a conference with the




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magistrate judge in the Bellah Litigation,1 had requested a final set of search terms to be utilized

for the search of Kenary’s available databases. As the Reply reflects, however, Defendants’

counsel, despite what had been perceived as an agreement to conduct the additional and final new

search of Mr. Kenary’s databases, have been unable to reach Attorney Vanderwoude. As a result,

Defendants have requested in their Reply that this Court order that Mr. Kenary perform an

additional search using that set of new search terms restated in the Reply and that Mr. Kenary

produce the results of that new search to Defendants within 20 days of the Court’s order with

appropriate privilege redactions, to the extent necessary. For this reason, the Reply succinctly

states the current status of this matter.

        For the above reasons, and those set forth in the Reply, Defendants again request that Court

order the relief requested in the Reply, namely a final search of Mr. Kenary’s databases using the

search terms restated in the Reply, and for Mr. Kenary to produce within 20 days of such Order all

responsive documents subject only to redaction consistent with standard privileges.

                                                 Defendants,
                                                 By Their Attorney,

                                                 /s/ Jeffrey S. Jacobovitz
                                                 Jeffrey S. Jacobovitz, Esquire
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  By way of quick background, Defendants filed a similar Motion to Compel against Steven Bellah
(“Bellah”), a colleague of Mr. Kenary, which matter is filed and venued in the United States District Court
for the Northern District of Texas, Civil Docket 1:23-cv-00841-JRR (the “Bellah Litigation”). Defendants
had been working with Attorney Vanderwoude to conduct a similar final search in the Bellah Litigation,
but, as with this matter, Defendants were unable to reach and achieve a consensus with Attorney
Vanderwoude.




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                       Of Counsel (to be admitted pro hac vice):

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Dated: June 30, 2023




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                               CERTIFICATE OF SERVICE

       I, Jeffrey S. Jacobovitz, hereby certify that, on June 30, 2023, I electronically filed the

foregoing Reply using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.



                                            /s/ Jeffrey S. Jacobovitz
                                            Jeffrey S. Jacobovitz, Esquire




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